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                       EXHIBIT A
Case 1:14-ml-02570-RLY-TAB Document 19803-1 Filed 08/30/21 Page 2 of 6 PageID #:
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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC, IVC FILTERS
 MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
 __________________________________________


 This Document Relates to Plaintiff(s)                        Plaintiff Demands A Trial By Jury

 Brenda I. Melendez

  Civil Case # 1:21-cv-06407-RLY-TAB


                                  SHORT FORM COMPLAINT


        COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

 named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document 213).

 Plaintiff(s) further show the court as follows:

        1. Plaintiff/Deceased Party:

             Brenda I. Melendez

        2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

             claim:

             None

        3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

             None

        4.   Plaintiff’s/Deceased Party’s state of residence at the time of implant:

             IL




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       5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

          IL

       6. Plaintiff’s/Deceased Party’s current state of residence:


          IL


       7. District Court and Division in which venue would be proper absent direct filing:

          United States District Court for the Northern District of Illinois



       8. Defendants (Check Defendants against whom Complaint is made):

               ☒      Cook Incorporated

               ☒      Cook Medical LLC

               ☒      William Cook Europe ApS

       9. Basis of Jurisdiction:

               ☒      Diversity of Citizenship

               ☐      Other:

          a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

          Paragraphs 6 through 28, inclusive




          b. Other allegations of jurisdiction and venue:




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       10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

          (Check applicable Inferior Vena Cava Filters):

              ☐       Günther Tulip® Vena Cava Filter

              ☒       Cook Celect® Vena Cava Filter

              ☐       Gunther Tulip Mreye

              ☐       Cook Celect Platinum

              ☐       Other:



       11. Date of Implantation as to each product:

          12/02/2010



       12. Hospital(s) where Plaintiff was implanted (including City and State):

          Northwestern Memorial Hospital in Chicago, Illinois



       13. Implanting Physician(s):

          Scott A. Resnick, MD




       14. Counts in the Master Complaint brought by Plaintiff(s):

              ☒       Count I:        Strict Products Liability – Failure to Warn

              ☒       Count II:       Strict Products Liability – Design Defect


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              ☒       Count III:        Negligence

              ☒       Count IV:         Negligence Per Se

              ☒       Count V:          Breach of Express Warranty

              ☒       Count VI:         Breach of Implied Warranty

              ☒       Count VII:        Violations of Applicable IL (insert State) Law Prohibiting

                      Consumer Fraud and Unfair and Deceptive Trade Practices

              ☐       Count VIII:       Loss of Consortium

              ☐       Count IX:         Wrongful Death

              ☐       Count X:          Survival

              ☒       Count XI:         Punitive Damages

              ☒       Other:            All other counts and claims for Relief set forth in the Master

                      Complaint for an amount to be determined by the trier of fact.

              ☒       Other:                                   (please state the facts supporting this

                      Count in the space, immediately below)

                      Defendants Expressly and Impliedly Warranted that the Cook IVC Filter

                      was a permanent lifetime implant and downplayed the risks associated with

                      migration, perforation, tilt, fracture, and other risk relied upon by the

                      plaintiff to her detriment.

       15. Attorney for Plaintiff(s):

          Paul L. Stoller

       16. Address and bar information for Attorney for Plaintiff(s): Dalimonte Rueb Stoller,

          LLP, 2425 East Camelback Road, Suite 500, Phoenix, AZ, 85016, AZ Bar # 016773.
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                          PLAINTIFF DEMANDS A TRIAL BY JURY

                                       Respectfully submitted,

                                       /s/Paul L. Stoller
                                       Paul L. Stoller
                                       (Admitted Pro Hac Vice, AZ Bar No. 016773)
                                       DALIMONTE RUEB STOLLER, LLP
                                       2425 East Camelback Rd., Suite 500
                                       Phoenix, Arizona 85016
                                       Telephone: (602) 888-2807
                                       Facsimile: (855) 203-2035
                                       paul@drlawllp.com

                                       Lead Counsel for Plaintiffs


                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2021 a copy of the foregoing was served electronically
 and notice of the service of this document will be sent to all parties by operation of the Court’s
 electronic filing system to CM/ECF participants registered to receive service in this matter. Parties
 may access this filing through the Court’s system.

                                       /s/Paul L. Stoller




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